Case: 4:17-cr-00131-DMB-JMV Doc #: 1-2 Filed: 11/03/17 1 of 1 PagelD #: 15

 

 

 

CRIMINAL CASE COVER SHEET U.S. DISTRICT COURT
Complete entire form
Place of Offense: Related Case Information:
City Cleveland Superseding:[ ]Yes[V]No Ifyes, Case No. \
Same Defendant New Defendant

County Bolivar

RECEIVED Magistrate Judge Case Number

 

 

 

wiv 03 ri? Search Warrant Case Number
< RORT R20/R40 from District of
7 COURI
UNITED STATES DISTRES a. ‘i :
NORTHERN pjeTRIcT OF MS Related Criminal Case Number 4:17-CR-119-MPM

 

Defendant Information:

Juvenile: [_lves [V|No If yes, Matter to be sealed: [ves [No

SCOTT E. NELSON

Defendant Name

 

Alias Name
Address Cleveland, MS

 

 

pop 1963 SSH XXX-xx-4504 go, M Race W Nationality
Represented by: Phil Mansour

 

 

U.S. Attorney Information: AUSA Clayton A. Dabbs Bar #101537
Interpreter: [yes [VY ]No List Language and/or dialect:

 

 

Location Status:

Pretrial Release [V]Yes [_INo In Custody [ves [V No

Federal State Date of Arrest

 

Location

 

U.S.C. Citations

 

 

 

 

Total # of Counts 13 [_ ]Petty [|Misdemeanor [V |Felony
Title & Section Description of Offense Charged Count(s)
Set | 18:1349.F ATTEMPT AND CONSPIRACY TO COMMIT FRAUD 1

Set 2 18:1347.F HEALTH CARE FRAUD 1-13

Set 3

Set 4

 

Date: 11/2/2017 Signature of AUSA - =
ae

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District Court Case Number: ;
(To be entered by Clerk) HiITCRISI
